Fill in this information to identify your case and this filing:

Debtor 1 Michael Glenn Bolding
First Name Middle Name Last Name

Debtor 2 Carline Stone Bolding
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

Case number 18-60708

(if known) (1 Check if this is an

amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. tf more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

EEE Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

(1 No. Go to Part 2.
Yes. Where is the property?

 

 

 

1.1. What is the property? Do not deduct secured claims or exemptions. Put the
2947 Palomino Trail, Robinson, TX Check all that apply. amount of any secured claims on Schedule D:
76706 (CO Single-family home Creditors Who Have Claims Secured by Property.
2947 Palomino Trail, Robinson, TX (0 Duplex or multi-unit building Current value of the Current value of the
76706 C0 Condominium or cooperative entire property? portion you own?

CO Manufactured or mobile home $219,490.00 $219,490.00

[J Land
County (J Investment property Describe the nature of your ownership

(J Timeshare interest (such as fee simple, tenancy by the

CO Other entireties, or a life estate), if known.

Who has an interest in the property? fee simple

Check one.

(J Debtor 1 only Check if this is community property

[1 Debtor 2 only (see instructions)

Debtor 1 and Debtor 2 only
(J Atleast one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any
entries for pages you have attached for Part 1. Write that number here. > $219,490.00

Describe Your Vehicles

Do you own, tease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

OJ No
Yes

Official Form 106A/6 Schedule A/B: Property page 1
 

 

 

 

 

 

Debtor 1 Michael Glenn Bolding
Debtor2 —_ Carline Stone Bolding Case number (if known) _18-60708
3.1. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: Saturn Vue Check one. amount of any secured claims on Schedule D:
Model: (1 Debtor 4 only Creditors Who Have Claims Secured by Property.
, Debtor 2 only Current value of the Current value of the

Year: 2007 oO

, Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: [J Atleast one of the debtors and another $2,000.00 $2,000.00
Other information:
2007 Saturn Vue f¥] Check if this is community property

(see instructions)

3.2. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: Toyota Check one. amount of any secured claims on Schedule D:
Model: Blizzard [1 Debtor 4 only Creditors Who Have Claims Secured by Property.
Year: 1987 (J Debtor 2 only Current value of the Current value of the

, Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: LD Atleast one of the debtors and another $8,000.00 $8,000.00
Other information:
1987 Toyota Blizzard Check if this is community property

(see instructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

f{ No

C Yes
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any

entries for pages you have attached for Part 2. Write that number here. > $10,000.00

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

Offici

Household goods and furnishings
Examples: Major appliances, furniture, tinens, china, kitchenware

[ No
Yes. Describe... See continuation page(s).

Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
music collections; electronic devices including cell phones, cameras, media players, games

J No

Yes. Describe..... See continuation page(s).

Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

[] No

Yes. Describe... See continuation page(s).

Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
canoes and kayaks; carpentry tools; musical instruments

No

OO Yes. Describe.....

jal Form 106A/B Schedule A/B: Property

 

 

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

$4,180.00

$895.00

$210.00

page 2
Debtor 1 Michael Glenn Bolding

 

 

 

 

 

Debtor2 —_ Carline Stone Bolding Case number (if known) _18-60708
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No
CO Yes. Describe...
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
1 No
Yes. Describe..... See continuation page(s). $500.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
OJ No
Yes. Describe... See continuation page(s). $310.00
13. Non-farm animals
Examples: Dogs, cats, birds, horses
(J No
Yes. Describe..... Dog x 2 $1.00
14, Any other personal and household items you did not already list, including any health aids you
did not list
No
CO Yes. Give specific
information.............
15. Add the dollar vatue of all of your entries from Part 3, including any entries for pages you have

attached for Part 3. Write the number here. > $6,096.00

 

 

 

Describe Your Financial Assets

Do you own or have any tegal or equitable interest in any of the following?

16.

17.

18.

Current value of the
portion you own?

 

 

Do not deduct secured
claims or exemptions.
Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
petition
OJ No
VES. oe eccceseecsecessencecenesussesnenveeseronsencesnvassussevevensace seseseseneensseneereeeesosanssenesanets v CASA: oo. eeeeseeerreee $23.00
Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
brokerage houses, and other similar institutions. If you have multiple accounts with the same
institution, list each.
OJ No
VOS....eeeceeeeceecceseteevene Institution name:
17.1. Checking account: First Central Credit Union Checking account $30.00
17.2. Savings account: First Central Credit Union Savings account $6.00

 

Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

7 No

[1 YES... -seeeeeseesesseeseestsee Institution or issuer name:

Official Form 106A/B Schedule A/B: Property page 3
Debtor 1 Michael Glenn Bolding

 

 

Debtor2 — Carline Stone Bolding Case number (if known) _ 18-60708
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including

20.

21,

22.

23.

24.

25.

26.

27.

an interest in an LLC, partnership, and joint venture
No
Yes. Give specific

information about
TNEM......ccseeeeeesesteeee Name of entity: % of ownership:

Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
CO Yes. Give specific
information about
THEM... ce eeceesceeeeee Issuer name:

Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
profit-sharing plans

No
[] Yes. List each
account separately. Type of account: Institution name:

Security deposits and prepayments

Your share of ail unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

No

[1 YES... ee seeeeeeetestereenees Institution name or individual:

Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
No

[1 VOS...seeeseeeeteerenees Issuer name and description:

Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b}(1), 529A(b), and 529(b)(1).

No
[LO VCS. eeeeeseecetseeeeeenee Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)

Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
powers exercisable for your benefit

No
DD Yes. Give specific
information about them

Patents, copyrights, trademarks, trade secrets, and other intellectual property;
Examples: Intemet domain names, websites, proceeds from royalties and licensing agreements
7 No
C Yes. Give specific
information about them

Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No
(1 Yes. Give specific
information about them

Official Form 106A/B Schedule A/B: Property page 4
Debtor 1 Michael Glenn Bolding
Debtor2  Carline Stone Bolding _ Case number (if known) _18-60708

Money or property owed to you? Current value of the

28.

29.

30.

31.

32.

33.

35.

36.

portion you own?
Do not deduct secured
claims or exemptions.

Tax refunds owed to you

No

[] Yes. Give specific information Federal:
about them, including whether ;
you already filed the retums State:
and the tax years...........0scere Local:

Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

 

No

C] Yes. Give specific information Alimony:
Maintenance:
Support:

Divorce settlement:
Property settlement:

Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
compensation, Social Security benefits; unpaid loans you made to someone else

RI No

C1 Yes. Give specific information

 

Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
No
(0 Yes. Name the insurance
company of each policy
and list its value................ Company name: Beneficiary: Surrender or refund value:
Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
entitled to receive property because someone has died

No
( Yes. Give specific information

Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

No

[J Yes. Describe each claim........

Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

No
[0 Yes. Describe each claim........

Any financial assets you did not atready list

fy No

(C Yes. Give specific information

 

Add the dollar value of all of your entries from Part 4, including any entries for pages you have
attached for Part 4. Write that number here. > $59.00

 

 

Official Form 106A/B Schedule A/B: Property page 5

 
Debtor 1 Michael Glenn Bolding
Debtor2 = Carline Stone Bolding Case number (if known) _18-60708

ies Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal! or equitable interest in any business-related property?

No. Go to Part 6.
(CO Yes. Go to line 38.

Current value of the
portion you own?
Do not deduct secured

 

claims or exemptions.

38. Accounts receivable or commissions you already earned

fy No

(] Yes. Describe..
39. Office equipment, furnishings, and supplies

Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,

desks, chairs, electronic devices

No

CO Yes. Describe..
40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

No

OO Yes. Describe..
41. Inventory

No

CO Yes. Describe..
42. Interests in partnerships or joint ventures

J No

( Yes. Describe..... Name of entity: % of ownership:
43. Customer lists, mailing lists, or other compilations

No

LL] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

( No
(C Yes. Describe...

44. Any business-related property you did not already list

J No

1] Yes. Give specific information.
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have

attached for Part 5. Write that number here. > $0.00

 

 

 

 

clans Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
CJ Yes. Go to line 47.

Official Form 106A/B Schedule A/B: Property page 6
Debtor 1 Michael Glenn Bolding
Debtor2 = Cartine Stone Bolding Case number (if known) _18-60708

47.

48.

49.

Farm animais
Examples: Livestock, poultry, farm-raised fish

No
oO Yes....

Crops-either growing or harvested

No
DD Yes. Give specific
information................

Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

 

 

 

 

 

 

 

 

 

No

OO Yes...
50. Farm and fishing supplies, chemicals, and feed

No

DD Yes...
51. Any farm- and commercial fishing-related property you did not already list

No

OO Yes. Give specific

information................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have

attached for Part 6. Write that number here > $0.00
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?

Examples: Season tickets, country club membership

fy No

[I Yes. Give specific information.
54. Add the dollar value of all of your entries from Part 7. Write that number here > $0.00
Official Form 106A/B Schedule A/B: Property page 7

 

 
Debtor1 Michael Glenn Bolding
Debtor2—s- Carline Stone Bolding

 

List the Totals of Each Part of this Form

55.

56.

57.

58.

59.

60.

61.

62.

63.

Official Form 106A/B

Part 1: Total real estate, line 2
Part 2: Total vehicles, line 5
Part 3: Total personal and household items, line 15
Part 4: Total financial assets, line 36

Part 5: Total business-related property, line 45

Part 6: Total farm- and fishing-related property, line 52

Part 7: Total other property not listed, line 54

Total personal property. Add lines 56 through 67..................

$10,000.00

$6,096.00

$59.00
$0.00

$0.00

+ $0.00

 

 

$16,155.00

 

 

Case number (if known)

Copy personal
property total

18-60708

>

>

Total of all property on Schedule A/B. Add line 55 + lime 62.00... tcc ceeveessecerscersesseseesssnsssenscssseeseesentaeeaees

Schedule A/B: Property

$219,490.00

+ $16,155.00

 

$235,645.00

 

 

page 8

 
Debtor 1 Michael Glenn Bolding
Debter2_——- Carline Stone Bolding

6.

Household goods and furnishings (details):

Couch

Chair

End Tables x 3
Coffee/Sofa Table
Lamps x 4

Bookcases x 2
Computer Desk x 2
Kitchen Table
Hutch/China Cabinet
Microwave

Small Appliances
Stove

Refrigerator

Deep Freezer
Washer/Dryer

King Bed

Bedside Tables x 2
Dresser x 7

Chest of Drawers x 2
Armoire

Dishes Pots Pans
Curtains Linens and Towels
Area Rugs x 2

Fan

Lawn Patio Furniture
Lawn Mower
Weedeater

Tools and Toolboxes
Power Tools

Garden Tools
Blower

Air Compressor

Official Form 106A/B

Schedule A/B: Property

Case number (if known)

18-60708

$50.00
$250.00
$75.00
$100.00
$100.00
$10.00
$25.00
$200.00
$300.00
$20.00
$50.00
$100.00
$100.00
$30.00
$300.00
$100.00
$25.00
$200.00
$50.00
$200.00
$100.00
$50.00
$25.00
$10.00
$50.00
$50.00
$25.00
$200.00
$100.00
$10.00
$10.00
$200.00

page 9
Debtor 1 Michael Glenn Bolding
Debtor2 —- Carline Stone Bolding

 

Case number (if known) _ 18-60708

Hammock $10.00
Hot Tub $100.00
Above Ground Pool $250.00
Folding Table and Chairs $10.00
Grill and Accessories $25.00
Curio Cabinet $50.00
tron and Ironing Board $10.00
Vacuum Cleaner $25.00
Christmas Tree and Decorations $125.00
Bar & Stools $50.00
Sewing Supplies $5.00
Board Games $20.00
Jewelry Box $100.00
Desk Chair $15.00
File Cabinet $5.00
Clocks $25.00
Knick Knacks $100.00
Vases Flower Pots $25.00
Mirrors $15.00
mattresses, bed frames dressers, radios and other personal effects in storage unit $100.00
Electronics (details):

TWx2 $300.00
DVD Player x 2 $25.00
Computer $200.00
Cell Phone $150.00
Printer $25.00
VCR Tapes $10.00
DVDs $10.00
CDs $5.00
Software $20.00
Stereo $150.00
Coltectibles of value (details):

Pictures Paintings and Wall Decorations $30.00
Doll Collection $100.00

Official Form 106A/B

Schedule A/B: Property

page 10
Debtor 1 Michael Glenn Bolding
Debtor2 —_ Carline Stone Bolding

 

Bikes x 2
Innertubes and Water Inflatables
Basketball/Baseball/Football

11. Clothes (details):
Clothing

Shoes
Furs

12. Jewelry (details):
Watch x 2
Ring
Necklace
Earrings

Costume Jewelry

Official Form 106A/B

Schedule A/B: Property

Case number (ifknown) _18-60708

$50.00
$10.00
$20.00

$300.00
$100.00
$100.00

$50.00
$100.00
$100.00
$10.00
$50.00

page 11
Fill in this information to identify your case:

 

 

 

 

 

 

Debtor 1 Michael Glenn Bolding
First Name Middle Name Last Name
Debtor 2 Carline Stone Bolding
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS CO Check if this is an
Casenumber  18-60708 amended filing
(if known)
Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions—such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds—-may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b){(3)
(1 You are claiming federal exemptions. 11 U.S.C. § 522(bX2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

 

Brief description of the property and line on Current value of § Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own
Copy the vaiue from Check only one box for
Schedule A/B each exemption
Brief description: $219,480.00 Const. art. 16 §§ 50, 51, Texas
2947 Palomino Trail, Robinson, TX 76706 100% of fairmarket Prop. Code §§ 41.001-.002
2947 Palomino Trail, Robinson, TX 76706 value, up to any (Claimed: $201,804.00
Line from Schedule A/B: 1.1 applicable statutory 400% of fair market value, up to any
limit applicable statutory limit)
Brief description: $2,000.00 | Tex. Prop. Code §§ 42.001(a),
2007 Saturn Vue fy] 100% of fairmarket 42.002(a)(9) (Claimed: $2,000.00
Line from Schedule /B: 3.1 value, up to any 100% of fair market value, up to any
_—_ appucable Statutory applicable statutory limit)
imi

 

3. Are you claiming a homestead exemption of more than $160,3757
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

O No

f¥J Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
M No
1 Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Additional Page

Brief description of the property and line on

Current value of

Amount of the

Case number (if known)

 

18-60708

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property the portion you exemption you claim
own
Copy the value from Check only one box for
Schedule A/B each exemption
Brief description: $8,000.00 oO Tex. Prop. Code §§ 42.001(a),
1987 Toyota Blizzard 100% of fairmarket 42.002(a)(9) (Claimed: $8,000.00
. . lue, up to any 100% of fair market value, up to any
Line from Schedule AB: 3.2 value ,
ine from Schedule — applicable statutory applicable statutory limit)
limit
Brief description: $50.00 oO Tex. Prop. Code §§ 42.001(a),
Couch 100% of fair market 42.002(a}(1) (Claimed: $50.00
Line from Schedule V/B: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $250.00 Oo Tex. Prop. Code §§ 42.001(a),
Chair 100% of fair market 42.002(a)(1) (Claimed: $250.00
Line from Schedule VB: 6 value, up to any 100% of fair market value, up to any
—_— applicable statutory applicable statutory limit)
limit
Brief description: $75.00 oO Tex. Prop. Code §§ 42.001(a),
End Tables x 3 100% of fair market 42.002(a}(1) (Claimed: $75.00
Line from Schedule VB: «6 value, up to any 100% of fair market value, up to any
——- applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Coffee/Sofa Table 100% of fair market 42.002(a)(1) (Claimed: $100.00
Line from Schedule /B: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Lamps x 4 100% of fairmarket 42.002(a)(1) (Claimed: $100.00
Line from Schedule AB: 6 value, up to any 100% of fair market value, up to any
—— applicable statutory applicable statutory limit)
timit
Brief description: $10.00 oO Tex. Prop. Code §§ 42.001(a),
Bookcases x 2 100% of fairmarket 42.002(a)(1) (Claimed: $10.00
Line from Schedule A/B: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $25.00 oO Tex, Prop. Code §§ 42.001(a),
Computer Desk x 2 100% of fair market 42.002(a)(1) (Claimed: $25.00
Line from Schedule VB: 6 value, up to any 100% of fair market value, up to any
—— applicable statutory applicable statutory limit)
limit
Brief description: $200.00 oO Tex. Prop. Code §§ 42.001(a),
Kitchen Table 100% of fair market 42.002(a)(1) (Claimed: $200.00

Line from Schedule A/B: 6

value, up to any
applicable statutory
limit

100% of fair market value, up to any
applicable statutory limit)

 

Official! Form 106C

Schedule C: The Property You Claim as Exempt

page 2
Debtor 4 Michael Gtenn Bolding
Debtor2— Carline Stone Bolding

Additional Page

Brief description of the property and line on
Schedule A/B that lists this property

Current value of
the portion you

Amount of the
exemption you claim

 

Case number (if known) _18-60708

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

own
Copy the value from Check only one box for
Schedule A/B each exemption
Brief description: $300.00 Oo Tex. Prop. Code §§ 42.001(a),
Hutch/China Cabinet 100% of fairmarket 42.002(a){1) (Claimed: $300.00
Line from Schedule A/B: value, up to any 100% of fair market value, up to any
° applicable statutory applicable statutory limit)
limit
Brief description: $20.00 oO Tex. Prop. Code §§ 42.001(a),
Microwave 100% of fairmarket 42.002(a)}(1) (Claimed: $20.00
. . value, up to any 100% of fair market value, up to any
Line fi hedule A/B: .
ine from Schedule applicable statutory applicable statutory limit)
timit
Brief description: $50.00 oO Tex. Prop. Code §§ 42.001(a),
Small Appliances 100% of fairmarket 42.002(a)(1) (Claimed: $50.00
Line from Schedule A/B: value, up to any 100% of fair market value, up to any
applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Stove fy] 100% of fairmarket 42.002(a)(1) (Claimed: $100.00
Line from Schedule AB: value, up to any 100% of fair market value, up to any
applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Refrigerator 100% of fairmarket 42.002(a)(1) (Claimed: $100.00
Line from Schedule A/B: value, up to any 100% of fair market value, up to any
applicable statutory applicable statutory limit)
limit
Brief description: $30.00 oO Tex. Prop. Code §§ 42.001(a),
Deep Freezer 100% of fairmarket 42.002(a)(1) (Claimed: $30.00
Line from Schedule A/B: value, up to any 100% of fair market value, up to any
applicable statutory applicable statutory limit)
limit
Brief description: $300.00 | Tex. Prop. Code §§ 42.001(a),
Washer/Dryer 100% of fairmarket 42.002(a)(1) (Claimed: $300.00
Line from Schedule /B: value, up to any 100% of fair market value, up to any
applicable statutory applicable statutory limit)
limit
Brief description: $100.00 Oo Tex. Prop. Code §§ 42.001(a),
King Bed 100% of fairmarket 42.002(a)(1) (Claimed: $100.00
Line from Schedule A/B: value, up to any 100% of fair market value, up to any
applicable statutory applicable statutory limit)
limit
Brief description: $25.00 oO Tex. Prop. Code §§ 42.001(a),
Bedside Tables x 2 PA 100% of fair market 42.002(a)(1) (Claimed: $25.00
Line from Schedule A/B: value, up to any 100% of fair market value, up to any

applicable statutory
limit

applicable statutory limit)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 3
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Additional Page

Brief description of the property and line on
Schedule A/B that lists this property

Current value of
the portion you
own

Copy the value from

Amount of the
exemption you claim

Check only one box for

Case number (if known)

 

18-60708

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B each exemption
Brief description: $200.00 oO Tex. Prop. Cade §§ 42.001{a),
Dresser x 7 100% of fairmarket 42.002(a)(1) (Claimed: $200.00
Line from Schedule VB: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $50.00 oO Tex. Prop. Code §§ 42.001(a),
Chest of Drawers x 2 100% of fairmarket 42.002(a)(1) (Claimed: $50.00
Line from Schedule VB: 6 value, up to any 100% of fair market value, up to any
_—__ applicable statutory applicable statutory limit)
timit
Brief description: $200.00 oO Tex. Prop. Code §§ 42.001(a),
Armoire 100% of fairmarket 42.002(a)(1) (Claimed: $200.00
Line from Schedule AB: 6 value, up to any 100% of fair market value, up to any
———— applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Dishes Pots Pans 100% of fairmarket 42.002(a)(1) (Claimed: $100.00
. . value, up to any 100% of fair market value, up to any
Line fi : .
ine from Schedule AB: _6 _ applicable statutory applicable statutory limit)
limit
Brief description: $50.00 oO Tex. Prop. Code §§ 42.001(a),
Curtains Linens and Towels 100% of fair market 42.002(a)(1) (Claimed: $50.00
Line from Schedule AB: 6 value, up to any 100% of fair market value, up to any
——_ applicable statutory applicable statutory limit)
limit
Brief description: $25.00 | Tex. Prop. Code §§ 42.001(a),
Area Rugs x 2 100% of fair market 42.002(a)(1) (Claimed: $25.00
Line from Schedule A/B: __6 value, up to any 100% of fair market value, up to any
——— applicable statutory applicable statutory limit)
limit
Brief description: $10.00 oO Tex. Prop. Code §§ 42.001(a),
Fan 100% of fairmarket 42.002(a)}(1) (Claimed: $10.00
Line from Schedule AB: «6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $50.00 oO Tex. Prop. Code §§ 42.001(a),
Lawn Patio Furniture 100% of fair market 42.002(a)(1) (Claimed: $50.00
Line from Schedule VB: «6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $50.00 | Tex. Prop. Code §§ 42.001(a),
Lawn Mower 100% of fair market

Line from Schedule A/B: 6

value, up to any
applicable statutory
limit

42.002(a)(1) (Claimed: $50.00
100% of fair market value, up to any
applicable statutory limit)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 4
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

 

Additional Page

Brief description of the property and line on
Schedule A/B that lists this property

Current value of
the portion you
own

Copy the value from

Amount of the
exemption you claim

Check only one box for

Case number (if known)

 

18-60708

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B each exemption
Brief description: $25.00 oO Tex. Prop. Code §§ 42.001(a),
Weedeater 100% of fairmarket 42.002(a)(1) (Claimed: $25.00
Line from Schedule VB: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $200.00 oO Tex. Prop. Code §§ 42.004(a),
Tools and Toolboxes 100% of fairmarket 42.002(a)(1) (Claimed: $200.00
Line from Schedule A/B: «6 value, up to any 100% of fair market value, up to any
_ applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Power Tools 100% of fairmarket 42.002(a}(1) (Claimed: $100.00
Line from Schedule VB: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $10.00 oO Tex. Prop. Code §§ 42.001(a),
Garden Tools 4] 100% of fairmarket 42.002(a)(1) (Claimed: $10.00
Line from Schedule V/B: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $10.00 oO Tex. Prop. Code §§ 42.001(a),
Blower 100% of fairmarket 42.002(a){1) (Claimed: $10.00
Line from Schedule AB: 6 value, up to any 100% of fair market value, up to any
—— applicable statutory applicable statutory limit)
limit
Brief description: $200.00 oO Tex. Prop. Code §§ 42.001(a),
Air Compressor 100% of fairmarket 42.002(a)(1) (Claimed: $200.00
Line from Schedule A/B: «G value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $10.00 oO Tex. Prop. Code §§ 42.001(a),
Hammock 100% of fairmarket 42.002(a)(1) (Claimed: $10.00
Line from Schedule AB: 6 value, up to any 100% of fair market value, up to any
—— applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Hot Tub [J 100% of fair market 42.002(a)(1) (Claimed: $100.00
Line from Schedule A/B: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $250.00 oO Tex. Prop. Code §§ 42.001(a),
Above Ground Pool 100% of fairmarket 42.002(a)(1) (Claimed: $250.00

Line from Schedule A/B: 6

value, up to any
applicable statutory
limit

100% of fair market value, up to any
applicable statutory limit)

 

Official Form 106C

Schedule C:; The Property You Claim as Exempt

page 5
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

 

Additional Page

Brief description of the property and line on
Schedule A/B that lists this property

Current value of
the portion you
own

Amount of the
exemption you claim

Case number (if known)

 

18-60708

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy the value from Check only one box for
Schedule A/B each exemption
Brief description: $10.00 oO Tex. Prop. Code §§ 42.001 (a),
Folding Table and Chairs 100% of fairmarket 42.002(a)(1) (Claimed: $10.00
; ; value, up to any 100% of fair market value, up to any
fe A/B: .
Line from Schedule A/B:_@_ applicable statutory applicable statutory limit)
limit
Brief description: $25.00 oO Tex. Prop. Code §§ 42.001(a),
Grill and Accessories 100% of fairmarket 42.002(a)(1) (Claimed: $25.00
; . value, up to any 100% of fair market value, up to any
AB: é ,
Line from Schedule A/B: _6__ applicable statutory applicable statutory limit)
limit
Brief description: $50.00 oO Tex. Prop. Code §§ 42.001(a),
Curio Cabinet 100% of fairmarket 42.002(a)(1) (Claimed: $50.00
Line from Schedule V/B: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $10.00 oO Tex. Prop. Code §§ 42.001(a),
lron and Ironing Board 100% of fairmarket 42.002(a)(1) (Claimed: $10.00
. . lue, up to any 100% of fair market value, up to any
Line fi dule A/B:__ 6 vaus ,
ine from Schedule AB: _G__ applicable statutory applicable statutory limit)
limit
Brief description: $25.00 oO Tex. Prop. Code §§ 42.001(a),
Vacuum Cleaner 100% of fair market 42.002(a)(1) (Claimed: $25.00
Line from Schedule A/B: «6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $125.00 oO Tex. Prop. Code §§ 42.001(a),
Christmas Tree and Decorations 100% of fairmarket 42.002(a)(1) (Claimed: $125.00
Line from Schedule VB: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $50.00 oO Tex. Prop. Code §§ 42.001 (a),
Bar & Stools 100% of fair market 42.002(a)(1) (Claimed: $50.00
Line from Schedule VB: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $5.00 oO Tex. Prop. Code §§ 42.001(a),
Sewing Supplies [1 100% of fair market 42.002(a)(1) (Claimed: $5.00
Line from Schedule V/B: «6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $20.00 oO Tex. Prop. Code §§ 42.001(a),
Board Games 100% of fairmarket 42.002(a)(1) (Claimed: $20.00

Line from Schedule A/B: 6

value, up to any
applicable statutory
limit

100% of fair market value, up to any
applicable statutory limit)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 6
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

 

Additional Page

Brief description of the property and line on

Current value of

Amount of the

Case number (if known)

 

18-60708

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property the portion you exemption you claim
own
Copy the value from Check only one box for
Schedule A/B each exemption
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Jewelry Box 100% of fair market 42.002(a)(1) (Claimed: $100.00
Line from Schedule /B: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $15.00 oO Tex. Prop. Code §§ 42.001(a),
Desk Chair 100% of fair market 42.002(a)(1) (Claimed: $15.00
Line from Schedule VB: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $5.00 oO Tex. Prop. Code §§ 42.001(a),
File Cabinet YJ 100% of fairmarket 42.002(a)(1) (Claimed: $5.00
Line from Schedule VB: 6 value, up to any 100% of fair market value, up to any
—— applicable statutory applicable statutory limit)
limit
Brief description: $25.00 | Tex. Prop. Code §§ 42.001 (a),
Clocks 100% of fairmarket 42.002(a)}(1) (Claimed: $25.00
Line from Schedule /B: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Knick Knacks 100% of fairmarket 42.002(a)({1) (Claimed: $100.00
Line from Schedule /B: 6 value, up to any 100% of fair market value, up to any
—_— applicable statutery applicable statutory limit)
limit
Brief description: $25.00 oO Tex. Prop. Code §§ 42.001(a),
Vases Flower Pots 100% of fairmarket 42.002(a)(1) (Claimed: $25.00
Line from Schedule AB: 6 value, up to any 100% of fair market value, up to any
——_ applicable statutory applicable statutory limit)
limit
Brief description: $15.00 oO Tex. Prop. Code §§ 42.001(a),
Mirrors 100% of fair market 42.002(a)(1) (Claimed: $15.00
Line from Schedule AB: 6 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop, Code §§ 42.001(a),
mattresses, bed frames dressers, radios fy] 100% of fairmarket 42.002(a){1) (Claimed: $100.00
and other personal effects in storage unit value, up to any 100% of fair market value, up to any
Line from Schedule A/B: 6 applicable statutory applicable statutory limit)
limit
Brief description: $300.00 oO Tex. Prop. Code §§ 42.001(a),
TWx2 100% of fairmarket 42.002(a)(1) (Claimed: $300.00

Line from Schedule A/B: 7

value, up to any
applicable statutory
limit

100% of fair market value, up to any
applicable statutory limit)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 7
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

FEE Additional Page

Case number (if known)

18-60708

 

Brief description of the property and tine on
Schedule A/B that lists this property

Brief description:
DVD Player x 2

Line from Schedule A/B: 7

Current value of
the portion you
own

Amount of the
exemption you claim

Copy the value from Check only one box for
Schedule A/B each exemption
$25.00 Oo

 

100% of fair market
value, up to any
applicable statutory

Specific laws that allow exemption

Tex. Prop. Code §§ 42.001(a),
42.002(a)(1) (Claimed: $25.00

100% of fair market value, up to any
applicable statutory limit)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

limit
Brief description: $200.00 oO Tex. Prop. Code §§ 42.001(a),
Computer 100% of fairmarket 42.002(a)(1) (Claimed: $200.00
Line from Schedule A/B: 7 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
imit
Brief description: $150.00 Oo Tex. Prop. Code §§ 42.001(a),
Cell Phone fy] 100% of fairmarket 42.002(a}({1) (Claimed: $150.00
Line from Schedule AB: 7 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $25.00 oO Tex. Prop. Code §§ 42.001(a),
Printer 100% of fairmarket 42.002(a)(1) (Claimed: $25.00
Line from Schedule /B: 7 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $10.00 oO Tex. Prop. Code §§ 42.001(a),
VCR Tapes 100% of fair market 42.002(a)(1) (Claimed: $10.00
Line from Schedule VB: 7 value, up to any 100% of fair market value, up to any
— ppnceble Statutory applicable statutory limit)
imi
Brief description: $10.00 oO Tex. Prop. Code §§ 42.001(a),
DVDs 100% of fair market 42.002(a)(1) (Claimed: $10.00
Line from Schedule A/B: 7 value, up to any 100% of fair market value, up to any
— appnceble Statutory applicable statutory limit)
imi
Brief description: $5.00 | Tex. Prop. Code §§ 42.001(a),
CDs {100% of fair market 42.002(a)(1) (Claimed: $5.00
Line from Schedule VB: 7 value, up to any 100% of fair market value, up to any
— ppplicable Statutory applicable statutory limit)
Im
Brief description: $20.00 oO Tex. Prop. Code §§ 42.001(a),
Software 100% of fair market 42.002(a)(1) (Claimed: $20.00
Line from Schedule VB: 7 value, up to any 100% of fair market value, up to any
—_— apprcable slatutory applicable statutory limit)
imi
Brief description: $150.00 o Tex. Prop. Code §§ 42.001(a),
Stereo 100% of fair market 42.002(a)(1) (Claimed: $150.00

Line from Schedule A/B: 7

value, up to any
applicable statutory
limit

100% of fair market value, up to any
applicable statutory limit)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 8
 

 

 

Debtor1 Michael Glenn Bolding

Debter2 — Carline Stone Bolding Case number (if known) _18-60708

Additional Page

Brief description of the property and line on Current value of | Amount of the Specific laws that allow exemption

Schedule A/B that tists this property

the portion you
own

exemption you claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy the value from Check only one box for
Schedule A/B each exemption
Brief description: $30.00 Oo Tex. Prop. Code §§ 42.001(a),
Pictures Paintings and Wall Decorations 100% of fairmarket 42.002(a)(1) (Claimed: $30.00
. . vatue, up to any 100% of fair market value, up to any
le A/B: .
Line from Schedule AB: _8__ applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Doll Collection 100% of fair market 42,002(a)(1) (Claimed: $100.00
. . value, up to any 100% of fair market value, up to any
hedul ; .
Line from Schedule A/B: _8__ applicable statutory applicable statutory limit)
limit
Brief description: $50.00 oO Tex. Prop. Code §§ 42.001(a),
Bikes x 2 100% of fairmarket 42.002(a)(1) (Claimed: $50.00
Line from Schedule AB: 8 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $10.00 | Tex. Prop. Code §§ 42.001(a),
Innertubes and Water Inflatables 100% of fair market 42.002(a)(1) (Claimed: $10.00
Line from Schedule 4/B: 8 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $20.00 oO Tex. Prop. Code §§ 42.001(a),
Basketball/Baseball/Football 100% of fair market 42.002(a)(1) (Claimed: $20.00
Line from Schedule VB: 8 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $300.00 oO Tex. Prop. Code §§ 42.001(a),
Clothing 100% of fairmarket 42.002(a)(5) (Claimed: $300.00
Line from Schedule VB: 14 value, up to any 100% of fair market value, up to any
_ applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Shoes 100% of fair market 42.002(a)(5) (Claimed: $100.00
Line from Schedule A/B: 11 value, up to any 100% of fair market value, up to any
—_— applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Furs 100% of fairmarket 42.002(a)(5) (Claimed: $100.00
Line from Schedule A/B: 14 value, up to any 100% of fair market value, up to any
—__ applicable statutory applicable statutory limit)
limit
Brief description: $50.00 oO Tex. Prop. Code §§ 42.001(a),
Watch x 2 7] 100% of fair market

Line from Schedule A/B: 12

value, up to any
applicable statutory
fimit

42.002(a)(6) (Claimed: $50.00
100% of fair market value, up to any
applicable statutory limit)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 9
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Additional Page

Brief description of the property and line on
Schedule A/B that lists this property

Current value of
the portion you
own

Amount of the
exemption you claim

 

Case number (if known) _18-60708

Specific laws that allow exemption

 

 

 

 

 

 

 

 

Copy the value from Check only one box for
Schedule A/B each exemption
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Ring 100% of fairmarket 42.002(a)(6) (Claimed: $100.00
. . value, up to any 100% of fair market value, up to any
from Schedule A/B: .
Line from Schedule A/B:_12 applicable statutory applicable statutory limit)
limit
Brief description: $100.00 oO Tex. Prop. Code §§ 42.001(a),
Necklace 100% of fairmarket 42.002(a)(6) (Claimed: $100.00
Line from Schedule VB: 12 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $10.00 oO Tex. Prop. Code §§ 42.001(a),
Earrings 100% of fair market 42.002(a)(6) (Claimed: $10.00
Line from Schedule AB: 12 value, up to any 100% of fair market value, up to any
_—_— applicable statutory applicable statutory limit)
limit
Brief description: $50.00 | Tex. Prop. Code §§ 42.001(a),
Costume Jewelry 100% of fairmarket 42.002(a)(6) (Claimed: $50.00
Line from Schedule AB: 12 value, up to any 100% of fair market value, up to any
— applicable statutory applicable statutory limit)
limit
Brief description: $1.00 oO Tex. Prop. Code §§ 42.001(a),
Dog x 2 iY] 100% of fairmarket 42.002(a)(11) (Claimed: $1.00
vw
Line from Schedule V/B: 13 value, up to any 100% of fair market value, up to any

applicable statutory
limit

applicable statutory limit)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 10
Fill in this information to identify your case:

Debtor 1 Michael Glenn Bolding
First Name Middle Name Last Name

Debtor 2 Carline Stone Bolding
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

Case number 18-60708

(if known) [1] Check if this is an

amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

[ (No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
fy] Yes. Fillin all of the information below.

List All Secured Claims

2. List all secured claims. If a creditor has more than one secured

 

 

claim, list the creditor separately for each claim. If more than one Column A Column B Column C
creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral © Unsecured
much as possible, list the claims in alphabetical order according to the Donotdeductthe that supports this portion
creditor's name. value of collateral | claim If any

Describe the property that

secures the claim: $17,686.00 $219,490.00
a of America Home Loans 2947 Palomino Trail,
reditor's name i
P.O. Box 650070 Robinson, TX 76706

 

Number Street

 

As of the date you file, the claim is: Check all that apply.
[J Contingent

Dallas TX 75265-0070  Unliquidated

City State ZIP Code oO Disputed

Who owes the debt? Check one. Nature of lien. Check all that apply.

Ly Cette erly [J] An agreement you made (such as mortgage or secured car loan)
2 Deere no Kispe ee [J Statutory lien (such as tax lien, mechanic's lien)
ebtor 1 and Debtor 2 only . .
[-] Judgment lien from a lawsuit
LJ Atleast one of the debtors and another Fa] Other (including a right to offset)

[7] Check if this claim relates Purchase Money
to a community debt

 

 

Date debt was incurred Last 4 digits of account number 6 6 8 6

The Boldings will be applying for a home loan modification in order to cure the arrearage on this loan.

 

Add the dollar value of your entries in Column A on this page. Write
that number here: $17,686.00

 

 

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here: $17,686.00

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1
Fill in this information to identify your case:

Debtor 1 Michael Glenn

First Name

Debtor 2 Carline Stone

(Spouse, if filing) First Name

Middle Name

Middle Name

Bolding
Last Name

Bolding
Last Name

United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

Case number 18-60708

(if known)

 

(1 Check if this is an
amended filing

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts

on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page

to this page. On the top of any additional pages, write your name and case number (if known).

List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

oO No. Go to Part 2.
al Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
claim. For each claim listed, identify wnat type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular

claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.

 

2.1

 

 

 

Internal Revenue Service
Priority Creditor's Name
PO Box 7346

 

Number Street

 

 

 

Philadelphia PA 19101-7346
City State ZIP Code
Who incurred the debt? Check one.

[] Debtor 1 only
[] Debtor 2 only
Debtor 1 and Debtor 2 only
[J Atleast one of the debtors and another
Check if this claim is for a community debt
Is the claim subject to offset?
fy] No
[LI Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

Total claim Priority Nonpriority
amount amount
$1,252.80 $1,252.80 $0.00
Last 4 digits of account number —
When was the debtincurred? 2015

As of the date you file, the claim is: Check all that apply.
[] Contingent

L] Unliquidated

[] Disputed

Type of PRIORITY unsecured claim:
Domestic support obligations
fv] Taxes and certain other debts you owe the government
[] Claims for death or personal injury while you were
intoxicated
[] Other. Specify

page 1
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _18-60708

 

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

[ (No. You have nothing to report in this part. Submit this form to the court with your other schedules.

fv] Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
type of claim itis. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

 

4.1
AES/PHEAA

 

 

 

 

Nonpriority Creditor's Name

Attn: Bankruptcy

 

Number Street

 

 

 

1200 North 7th St
Harrisburg PA 17102
City State ZIP Code

Who incurred the debt? Check one.

[] Debtor 1 only

[] Debtor 2 only

[¥] Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

[| Check if this claim is for a community debt

Is the claim subject to offset?
fy No
C] Yes

Retrieved from credit report

 

4.2

 

 

 

American Fireworks, Inc.

 

Nonpriority Creditors Name

 

 

 

 

P.O. Box 64

Number Street

Basdrop TX 78602
City State ZIP Code
Who incurred the debt? Check one.

(J Debtor 1 only

[] Debtor 2 only

fy] Debtor 1 and Debtor 2 only

[] Atleast one of the debtors and another

[¥] Check if this claim is for a community debt
Is the claim subject to offset?

[v7] No

1 Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last4 digits ofaccountnumber 7 5 7 Oo
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
CJ Contingent
[J Unliquidated
CL] Disputed
Type of NONPRIORITY unsecured claim:
[] Student loans
[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[J Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Notice Only
$297.28

Last 4 digits of account number

sole dl layg Sg oh’.
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.

(J Contingent
[J Unliquidated
CL] Disputed

Type of NONPRIORITY unsecured claim:
(J Student loans
(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[_] Debts to pension or profit-sharing plans, and other similar debts
[YJ Other. Specify
Product

page 2
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _ 18-60708

 

ra Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.3
AmeriCredit/GM Financial

 

 

 

 

 

Nonpriority Creditors Name
Attn: Bankruptcy
Number Street

PO Box 183853

 

 

Arlington TX 76096
City State ZIP Code
Who incurred the debt? Check one.

[] Debtor 1 only
Debtor 2 only
[¥] Debtor 1 and Debtor 2 only
[] Atleast one of the debtors and another
[¥] Check if this claim is for a community debt

Is the claim subject to offset?
fy] No
0 Yes

Retrieved from credit report

 

4.4
Bank Of America

 

 

 

 

Nonpriority Creditor's Name
Attn: Bankruptcy

 

Number Street

 

 

 

PO Box 982238
El Paso TX 79998
City State ZIP Code

Who incurred the debt? Check one.

[] Debtor 1 only

[] Debtor 2 only

fy] Debtor 1 and Debtor 2 only

[] Atleast one of the debtors and another

fy] Check if this claim is for a community debt

Is the claim subject to offset?
fy] No
[] Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last4 digits ofaccountnumber 5 0 5 3.
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
LC] Contingent
C] Unliquidated
oO Disputed
Type of NONPRIORITY unsecured claim:
[] Student loans
[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[-] Debts to pension or profit-sharing plans, and other similar debts
fv] Other. Specify
Notice Only
Unknown

Last4 digits of accountnumber 6 6 8 6.

When was the debt incurred?
As of the date you file, the claim is: Check all that apply.

LJ Contingent
[] Unliquidated

[] Disputed

Type of NONPRIORITY unsecured claim:
[] Student loans
[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[] Debts to pension or profit-sharing plans, and other similar debts
[¥] Other. Specify
Notice Only

page 3
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _18-60708

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.5

 

 

 

Barrett Daffin Frappier Turner & Engel,

 

Nonpriority Creditors Name

15000 Surveyor Bouldvard

 

 

 

 

Number Street

Suite 100

Addison TX 75001
City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only
[] Debtor 2 only
fy] Debtor 1 and Debtor 2 only
[J Atleast one of the debtors and another
Check if this claim is for a community debt
Is the claim subject to offset?
[fy] No
[] Yes

4.6

 

 

 

 

Capitol Fin Co-waco
Nonpriority Creditors Name

Po Box 2935

 

Number Street

 

 

 

Gainesville GA 30503
City State ZIP Code
Who incurred the debt? Check one.

[] Debtor 1 only

[-] Debtor 2 only

Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

[¥] Check if this claim is for a community debt

Is the claim subject to offset?
[y] No
LI Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last 4 digits of account number Le
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
0 Contingent
[ Unliquidated
7 Disputed
Type of NONPRIORITY unsecured claim:
(J Student loans
(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[] Debts to pension or profit-sharing plans, and other similar debts
fy] Other. Specify
Attorney for - Bank of America
$390.00

Last 4 digits of account number 6 1 2. 6
10/09/2014
As of the date you file, the claim is: Check all that apply.

C1 Contingent
[J Unliquidated
( Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim:

[J Student loans

[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

[] Debts to pension or profit-sharing plans, and other similar debts

[¥] Other. Specify

Note Loan

page 4
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _ 18-60708

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.7

 

 

 

Conn's HomePlus
Nonpriority Creditors Name
Attn: Bankruptcy

 

 

 

 

Number Street

PO Box 2358

Beaumont TX 77704
City State ZIP Code

Who incurred the debt? Check one.

[] Debtor 1 only

[] Debtor 2 only

fv] Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

[47] Check if this claim is for a community debt

Is the claim subject to offset?
No
OJ Yes

Retrieved from credit report

 

 

4.8

 

 

Credit Collection Services
Nonpriority Creditors Name

Attn: Bankruptcy

Number Street

725 Canton St

 

 

Norwood MA 02062
City State ZIP Code
Who incurred the debt? Check one.

[-] Debtor 1 only

(J Debtor 2 only

[¥] Debtor 1 and Debtor 2 only

[J Atleast one of the debtors and another

[¥] Check if this claim is for a community debt

Is the claim subject to offset?
7] No
O Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last 4 digits of accountnumber 2 7 3 O|
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
[1 Contingent
[] Unliquidated
[] Disputed
Type of NONPRIORITY unsecured claim:
[] Student loans
(] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[] Debts to pension or profit-sharing plans, and other similar debts
[vy] Other. Specify
Notice Only
Unknown

Last 4 digits of account number 5 0 0 4
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

CJ Contingent
[] Unliquidated
0 Disputed

Type of NONPRIORITY unsecured claim:

[] Student loans

[_] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts

fy] Other. Specify

Notice Only

page 5
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _18-60708

| Part 2: Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.9

 

 

 

Credit Systems International, Inc
Nonpriority Creditors Name
Attn: Bankruptcy

 

Number Street

 

 

 

PO Box 1088
Arlington TX__ 76004
City State ZIP Code

Who incurred the debt? Check one.

[] Debtor 1 only

[] Debtor 2 only

fv] Debtor 1 and Debtor 2 only

[] Atleast one of the debtors and another

[¥] Check if this claim is for a community debt

Is the claim subject to offset?
No
[] Yes

Retrieved from credit report

 

4.10

 

 

 

Credit Systems International, Inc
Nonpriority Creditor's Name

Attn: Bankruptcy

 

 

 

 

Number Street

PO Box 1088

Arlington TX__ 76004
City State ZIP Code
Who incurred the debt? Check one.

(J Debtor 1 only

(J Debtor 2 only

[yy Debtor 1 and Debtor 2 only

LD Atleast one of the debtors and another

[7] Check if this claim is for a community debt
Is the claim subject to offset?

P| No

OO Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last4 digits of accountnumber 8 5 1 3
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
(1 Contingent
( Unliquidated
[] Disputed
Type of NONPRIORITY unsecured claim:
[] Student loans
[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(] Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Notice Only
Unknown

Last 4 digits of accountnumber 2 4 1 Q-

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

(J Contingent
( Unliquidated
Oo Disputed

Type of NONPRIORITY unsecured claim:
Student loans
LJ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(] Debts to pension or profit-sharing plans, and other similar debts
[7] Other. Specify
Notice Only

page 6
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _ 18-60708

 

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.11

 

 

 

Deville Mgmt

 

Nonpriority Creditors Name

Attn: Bankruptcy
Number Street

 

 

 

PO Box 1987

Colleyville T™ 76034
City State ZIP Code
Who incurred the debt? Check one.

CO Debtor 1 only

(J Debtor 2 only

[y] Debtor 1 and Debtor 2 only

( Atleast one of the debtors and another

[¥] Check if this claim is for a community debt

Is the claim subject to offset?

fy] No
oO Yes

Retrieved from credit report

 

4.12

 

 

 

ERC/Enhanced Recovery Corp

 

Nonpriority Creditor’s Name
Attn: Bankruptcy
Number Street

 

 

 

8014 Bayberry Road

Jacksonville FL 32256
City State ZIP Code
Who incurred the debt? Check one.

(J Debtor 1 only

(] Debtor 2 only

[4] Debtor 1 and Debtor 2 only

( Atleast one of the debtors and another

fv] Check if this claim is for a community debt
Is the claim subject to offset?

wv No
oO Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last 4 digits of account number 6 & NU 1
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
1 Contingent
[] Unliquidated
(J Disputed
Type of NONPRIORITY unsecured claim:
[J Student loans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(J Debts to pension or profit-sharing plans, and other similar debts
fy] Other. Specify
Notice Only
Unknown

Last4 digits ofaccountnumber 5 5 1 2.

When was the debt incurred?
As of the date you file, the claim is: Check all that apply.

C1 Contingent
[] Unliquidated

[] Disputed

Type of NONPRIORITY unsecured claim:
[J Student loans
(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[J Debts to pension or profit-sharing plans, and other similar debts
[J Other. Specify
Notice Only

page 7
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _ 18-60708

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.13

 

 

 

 

Ginnys/Swiss Colony Inc
Nonpriority Creditors Name
Attn: Credit Department

 

Number Street

 

 

 

PO Box 2825
Monroe Wi 53566
City State ZIP Code

Who incurred the debt? Check one.

[] Debtor 1 only

(] Debtor 2 only

fv] Debtor 1 and Debtor 2 only

[ Atleast one of the debtors and another

[7] Check if this claim is for a community debt
Is the claim subject to offset?

vw] No
Ol Yes

Retrieved from credit report

 

4.14

 

 

 

Gm Financial

 

Nonpriority Creditors Name

PO Box 183621

Number Street

 

 

Arlington TX 76096-3621
City State ZIP Code

Who incurred the debt? Check one.
[] Debtor 4 only
Debtor 2 only
[v7] Debtor 1 and Debtor 2 only
[J Atleast one of the debtors and another

[4] Check if this claim is for a community debt
Is the claim subject to offset?

7] No
[] Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown

Last4 digits ofaccountnumber 7 6 3° oO
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
1 Contingent
( Unliquidated
( Disputed
Type of NONPRIORITY unsecured claim:
(J Student loans
[] Obligations arising out of a separation agreement or divorce

that you did not report as priority claims
(] Debts to pension or profit-sharing plans, and other similar debts
[¥] Other. Specify

Notice Only

Unknown

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

1 Contingent
(J Unliquidated
oO Disputed

Type of NONPRIORITY unsecured claim:

[] Student loans

[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

[_] Debts to pension or profit-sharing plans, and other similar debts

[¥] Other. Specify

Deficiency after surrender of collateral

page 8
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _ 18-60708

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.15

 

 

 

Internal Revenue Service

 

Nonpriority Creditors Name
Attn: Special Procedures

 

 

 

 

Number Street

300 E. 8th Street

STOP 5026 AUS

Austin TX 78701
City State ZIP Code
Who incurred the debt? Check one.

(J Debtor 1 only

[J Debtor 2 only

[¥] Debtor 1 and Debtor 2 only

CD Atleast one of the debtors and another

[YJ Check if this claim is for a community debt

Is the claim subject to offset?
No
J Yes

4.16

Kohls/Capital One
Nonpriority Creditors Name

 

 

 

 

 

 

 

 

Kohls Credit

Number Street

PO Box 3120

Milwaukee WI 53201
City State ZIP Code
Who incurred the debt? Check one.

(J Debtor 1 only
( Debtor 2 only
Debtor 1 and Debtor 2 only
[] Atleast one of the debtors and another

fy] Check if this claim is for a community debt

Is the claim subject to offset?
No
[] Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Unknown
Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

( Contingent
[] Unliquidated
oO Disputed

Type of NONPRIORITY unsecured claim:
[J Student loans
[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[] Debts to pension or profit-sharing plans, and other similar debts
[vy] Other. Specify
Notice Only

Unknown
Last 4 digits of account number 3.4 4 2

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C1 Contingent
[J Unliquidated
LJ Disputed

Type of NONPRIORITY unsecured claim:
[J Student loans
LL] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[] Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Notice Only

page 9
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _18-60708

 

 

era Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.17
LVNV Funding/Resurgent Capital

 

 

 

 

Nonpriority Creditor's Name
Attn: Bankruptcy
Number Street

PO Box 10497

 

 

 

Greenville sc 29603
City State ZIP Code
Who incurred the debt? Check one.

(J Debtor 1 only

(J Debtor 2 only

[4] Debtor 1 and Debtor 2 only

[J Atleast one of the debtors and another

[4] Check if this claim is for a community debt

Is the claim subject to offset?

“J No
O Yes

Retrieved from credit report

 

4.18

 

 

 

Midnight Velvet

 

Nonpriority Creditors Name

Swiss Colony/Midnight Velvet

 

Number Street
1112 7th Ave

 

 

Monroe Wi 53566
City State ZIP Code
Who incurred the debt? Check one.

[] Debtor 1 only

[] Debtor 2 only

fv] Debtor 1 and Debtor 2 only

[] At least one of the debtors and another

[¥] Check if this claim is for a community debt

Is the claim subject to offset?
[4] No
CJ Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last4 digits ofaccountnumber 9 7 8 1.
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
L] Contingent
Ol Unliquidated
[] Disputed
Type of NONPRIORITY unsecured claim:
[] Student loans
[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[] Debts to pension or profit-sharing plans, and other similar debts
fy] Other. Specify
Notice Only
Unknown

Last 4 digits of account number 7 2 9 O
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

LJ Contingent
[] Unliquidated

CL Disputed

Type of NONPRIORITY unsecured claim:
[J Student loans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[_] Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Notice Only

page 10
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _ 18-60708

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.19

 

 

 

Montgomery Wards

 

Nonpriority Creditor's Name

Swiss Colony/Midnight Velvet

 

Number Street

 

 

 

1112 7th Ave
Monroe WI 53566
City State ZIP Code

Who incurred the debt? Check one.

[_] Debtor 1 only

(] Debtor 2 only

fv] Debtor 1 and Debtor 2 only

[J Atleast one of the debtors and another

[¥] Check if this claim is for a community debt
Is the claim subject to offset?

A No
oO Yes

Retrieved from credit report

 

4.20

National Credit Adjusters, LLC
Nonpriority Creditor's Name

 

 

 

 

 

 

 

327 W 4th Ave.

Number Street

PO Box 3023

Hutchinson KS 67504
City State ZIP Code
Who incurred the debt? Check one.

Ol Debtor 1 only

(] Debtor 2 only

fy] Debtor 1 and Debtor 2 only

[] Atleast one of the debtors and another

Check if this claim is for a community debt
Is the claim subject to offset?

7 No

(] Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last 4 digits of accountnumber 7 2 9 O|
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
[1 Contingent
oO Unliquidated
CJ Disputed
Type of NONPRIORITY unsecured claim:
[J Student loans
[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[J Debts to pension or profit-sharing plans, and other similar debts
[VJ Other. Specify
Notice Only
Unknown

Last 4 digits of account number 5 7 1 6
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C1 Contingent
[] Unliquidated

L Disputed

Type of NONPRIORITY unsecured claim:

[J Student loans

[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

[] Debts to pension or profit-sharing plans, and other similar debts

fy] Other. Specify

Notice Only

page 11
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _ 18-60708

 

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.21

 

 

 

Natiowide Recovery Service

 

Nonpriority Creditor's Name
Attn: Bankruptcy

 

 

 

 

Number Street

PO Box 8005

Cleveland ™N 37320
City State ZIP Code
Who incurred the debt? Check one.

( Debtor 1 only

[] Debtor 2 only

Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

Check if this claim is for a community debt

Is the claim subject to offset?
| No
Yes

Retrieved from credit report

 

4.22

 

 

 

Portfolio Recovery
Nonpriority Creditor's Name
PO Box 41021

 

Number Street

 

 

 

Norfolk VA 23541
City State ZIP Code
Who incurred the debt? Check one.

[] Debtor 1 only

( Debtor 2 only

fv] Debtor 1 and Debtor 2 only

[] Atleast one of the debtors and another

Check if this claim is for a community debt
Is the claim subject to offset?

7 No

Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last4 digits ofaccountnumber 8 5 O 9
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
J Contingent
( Unliquidated
(J Disputed
Type of NONPRIORITY unsecured claim:
[J Student loans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[] Debts to pension or profit-sharing plans, and other similar debts
[fy] Other. Specify
Notice Only
Unknown

Last 4 digits of account number 4 6 1 6
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

[] Contingent
[] Unliquidated

[] Disputed

Type of NONPRIORITY unsecured claim:
[J Student loans
(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[] Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Notice Only

page 12
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _ 18-60708

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

 

4.23

 

 

Portfolio Recovery
Nonpriority Creditors Name
PO Box 41021
Number Street

 

 

 

Norfolk VA 23541
City State ZIP Code
Who incurred the debt? Check one.

(J Debtor 1 only

(J Debtor 2 only

fy] Debtor 1 and Debtor 2 only

CJ Atleast one of the debtors and another

fy] Check if this claim is for a community debt

Is the claim subject to offset?

| No
oO Yes

Retrieved from credit report

 

 

4.24
RMP

 

 

 

Nonpriority Creditor's Name

Attn: Bankruptcy

 

 

 

 

Number Street

PO Box 21626

Waco TX 76702
City State ZIP Code
Who incurred the debt? Check one.

[J Debtor 1 only

[] Debtor 2 only

fv] Debtor 1 and Debtor 2 only

[J Atleast one of the debtors and another

fv] Check if this claim is for a community debt
Is the claim subject to offset?

No

[] Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last 4 digits of account number 55 7 1
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
C1 Contingent
[] Unliquidated
L] Disputed
Type of NONPRIORITY unsecured claim:
(J Student loans
[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(J) Debts to pension or profit-sharing plans, and other similar debts
[| Other. Specify
Notice Only
Unknown

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

[] Contingent
O Unliquidated

(J Disputed

4 6 4 2

Type of NONPRIORITY unsecured claim:
[ Student loans
O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[[] Debts to pension or profit-sharing plans, and other similar debts
[¥] Other. Specify
Notice Only

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Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _18-60708

 

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.25

 

 

 

 

Seventh Avenue

 

Nonpriority Creditors Name
Attn: Bankruptcy
Number Street

 

 

 

1200 North 7th St
Harrisburg PA 17102
City State ZIP Code

Who incurred the debt? Check one.
[J Debtor 1 only

[] Debtor 2 only

[¥] Debtor 1 and Debtor 2 only

[] Atleast one of the debtors and another

fv] Check if this claim is for a community debt
Is the claim subject to offset?

w No
O Yes

Retrieved from credit report

 

4.26

 

 

 

Southwest Credit Systems
Nonpriority Creditor's Name
4120 International Parkway

 

 

 

 

Number Street

Suite 1100

Carrollton TX 75007
City State ZIP Code
Who incurred the debt? Check one.

( Debtor 1 only

O Debtor 2 only

fy] Debtor 1 and Debtor 2 only

LJ Atleast one of the debtors and another

Check if this claim is for a community debt

Is the claim subject to offset?
[7] No
CL] Yes

Retrieved from credit report

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Unknown
Last 4 digits of account number 7 5 7 O
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
(1 Contingent
[L Unliquidated
oO Disputed
Type of NONPRIORITY unsecured claim:
[J Student loans
[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[_] Debts to pension or profit-sharing plans, and other similar debts
fv] Other. Specify
Notice Only
Unknown

Last4 digits ofaccountnumber 5 3 O 1
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

J Contingent
[ Uniiquidated

CL Disputed

Type of NONPRIORITY unsecured claim:
(J) Student loans
[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[) Debts to pension or profit-sharing plans, and other similar debts
fy] Other. Specify
Notice Only

page 14
Debtor 1
Debtor 2

Michael Glenn Bolding
Carline Stone Bolding

Case number (if known) _18-60708

 

eee Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.27

 

 

 

United Consumer Financial Services
Nonpriority Creditors Name

Attn: Bankruptcy

 

Number Street

PO Box 856290

 

 

Louisville KY 40285
City State ZIP Code

Who incurred the debt? Check one.

(J Debtor 1 only

[] Debtor 2 only

[¥] Debtor 1 and Debtor 2 only

( Atleast one of the debtors and another

fy] Check if this claim is for a community debt
Is the claim subject to offset?

Mv No
O Yes

Retrieved from credit report

 

4.28

 

 

 

US Attorney General
Nonpriority Creditors Name
Department of Justice

 

Number Street

950 Pennsylvania Ave N.W.

 

 

Washington DC 20530
City State ZIP Code

Who incurred the debt? Check one.

[] Debtor 1 only

[J Debtor 2 only

[¥] Debtor 1 and Debtor 2 only

[] Atleast one of the debtors and another

[vy] Check if this claim is for a community debt
Is the claim subject to offset?

| No
oO Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
_—__Unknown
Last4 digits of accountnumber 9 9 8 8)
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
[1 Contingent
(J Unliquidated
[] Disputed
Type of NONPRIORITY unsecured claim:
[] Student loans
(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[J Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Notice Only
___Unknown_

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
(1 Contingent

CL] Unliquidated

[J Disputed

Type of NONPRIORITY unsecured claim:
[] Student loans
(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[J Debts to pension or profit-sharing plans, and other similar debts
[Y] Other. Specify
Notice Only

page 15
Debtor 1 Michael Glenn Bolding
Debtor2 —_Carline Stone Bolding

Case number (if known) _ 18-60708

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.29

US Attorney's Office
Nonpriority Creditors Name

601 N.W. Loop 410. Ste.600

 

 

 

 

 

Number Street

 

 

San Antonio TX 78216
City State ZIP Code

Who incurred the debt? Check one.

(] Debtor 1 only

(] Debtor 2 only

fv] Debtor 1 and Debtor 2 only

[J Atleast one of the debtors and another

[v7] Check if this claim is for a community debt
Is the claim subject to offset?

fv] No
oO Yes

Total claim

Unknown
Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
1 Contingent

[] Unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
oO Student loans
(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[J Debts to pension or profit-sharing plans, and other similar debts
fy] Other. Specify
Notice Only

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 16
Debtor 4 Michael Glenn Bolding

Debtor2—s- Carline Stone Bolding

Add the Amounts for Each Type of Unsecured Claim

Case number (if known) _18-60708

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
28 U.S.C. § 159. Add the amounts for each type of unsecured claim.

Total claims 6a.

from Part 1

6b.

6c.

6e.

Tota! claims 6f.
from Part 2

6g.

6h.

6i.

6j.

Official Form 106E/F

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims. Write that amount here.

Total. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar
debts

Other. Add all other nonpriority unsecured claims. Write that amount here.

Total. Add lines 6f through 6i.

Schedule E/F: Creditors Who Have Unsecured Claims

6a.

6b.

6c.

6f.

6g.

6h.

Gi.

6.

Total claim

$0.00

$1,252.80

$0.00

$0.00

 

 

$1,252.80

 

 

+

Total claim

$0.00

 

$0.00

$0.00

$687.28

 

 

$687.28

 

 

page 17
Fill in this information to identify your case:

Debtor 1 Michael Glenn Bolding
First Name Middle Name Last Name

Debtor 2 Carline Stone Bolding
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

Casenumber 18-60708 O Check if this is an

(if known) amended filing

 

 

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases 12/15

ee eee ncn eee ener eee cere ee,
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying

correct information. if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.

On the top of any additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

[] No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
is for (for example, rent, vehicle lease, cell phone}. See the instructions for this form in the instruction booklet for more examples of
executory contracts and unexpired leases.

 

Person or company with whom you have the contract or lease State what the contract or lease is for
2.1 Diana Dalessio lease of other half of duplex
Name
Contract to be ASSUMED
2947 Palomino Trail

 

 

Number Street

 

Robinson ™ 76706
City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1
Fill in this information to identify your case:

 

 

 

Debtor 1 Michael Glenn Bolding

First Name Middle Name Last Name
Debtor 2 Carline Stone Bolding
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS
Casenumber 18-60708

; (0 Check if this is an
{if known) amended filing

 

Official Form 106H
Schedule H: Your Codebtors

12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this

page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

Official Form 106H Schedule H: Your Codebtors

No
O Yes

Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

[1 No. Go to line 3.
fy] Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
CO No
Yes
In which community state or territory did you live? Texas Fill in the name and current address of that person.

Carline Stone Bolding

Name of your spouse, former spouse, or legal equivalent
2943 Palomino Trail

Number Street

 

Robinson TX 76706
City State ZIP Code

In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the

creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

page 1
Fill in this information to identify your case:

 

 

 

Bolding oO

 

 

Debtor 1 Michael Glenn Bolding
First Name Middle Name Last Name
Debtor 2 Carline Stone
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS O
Case number 18-60708
(if known)

 

Official Form 1061
Schedule I: Your Income

Check if this is:

An amended filing

A supplement showing postpetition
chapter 13 income as of the following date:

MM /DD/YYYY

12/15

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional! pages, write
your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment
information.

If you have more than one

job, attach a separate page § Employment status

with information about

additional employers. ;
Occupation

Include part-time, seasonal,
or self-employed work. Employer's name
Occupation may include
student or homemaker, if it
applies.

Employer's address

How long employed there?

Give Details About Monthly Income

Debtor 1

Employed
01 Not employed

Merchandizer

Advantage Solutions

Unilever Dedicated Retai] Team
Number Street

1575 North Main Street

Debtor 2 or non-filing spouse

1 Employed
Not employed

unemployed/disabled

Number Street

 

 

Orange CA 92867
City State Zip Code City State Zip Cade

just started

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your

non-filing spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If

you need more space, attach a separate sheet to this form.

2. List monthly gross wages, salary, and commissions (before all 2.
payroll deductions). If not paid monthly, calculate what the monthly wage

would be.

3. Estimate and list monthly overtime pay.

4. Calculate gross income. Add line 2 + line 3.

Official Form 1061

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse

$624.00 $0.00

3. + $0.00 $0.00

4. $624.00 $0.00

 

 

 

 

 

 

Schedule I: Your Income

page 1
Debtor 1 Michael Glenn Bolding

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor2 — Carline Stone Bolding Case number (if known) 18-60708
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here > 4. $624.00 $0.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $47.11 $0.00
5b. Mandatory contributions for retirement plans 5b. $0.00 $0.00
5c. Voluntary contributions for retirement plans 5c. $0.00 $0.00
5d. Required repayments of retirement fund loans Sd. $0.00 $0.00
Se. Insurance 5e. $0.00 $0.00
Sf. Domestic support obligations 5. $0.00 $0.00
5g. Union dues 5g. $0.00 $0.00
Sh. Other deductions.
Specify: 5h.+ $0.00 $0.00
6. Add ae payroil deductions. Add lines Sa + 5b+5c+5d+5e+5f+ 6. $47.11 $0.00
5g + 5h.
7. Calculate total monthly take-home pay. Subtract line 6 from line 4.7. $576.89 $0.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a 8a. $950.00 $0.00

 

business, profession, or farm

Attach a statement for each property and business showing
gross receipts, ordinary and necessary business expenses, and
the total monthly net income.

8b. Interest and dividends 8b. $0.00 $0.00

8c, Family support payments that you, a non-filing spouse, or a 8c. $0.00 $0.00
dependent regularly receive

Include alimony, spousal support, child support, maintenance,
divorce settlement, and property settlement.

 

 

8d. Unemployment compensation &d. $0.00 $0.00
8e. Social Security 8e. $0.00 $540.00
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) or any non-

cash assistance that you receive, such as food stamps

(benefits under the Supplemental Nutrition Assistance Program)

 

 

 

 

 

 

 

 

 

 

 

 

or housing subsidies.
Specify: Sf. $0.00 $0.00
8g. Pension or retirement income 8g. $0.00 $0.00
8h. Other monthly income.
Specify: 8h. +4 $0.00 $0.00
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + Bf +8g+8h. 9. $950.00 $540.00
10. Calculate monthly income. Add line 7 + line 9. 10. $1,526.89 | + $540.00 |= $2,066.89
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in tines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

 

Specify: 1. o+ $0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly 12. $2,066.89

income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,

if it applies. Combined

monthly income

Official Form 106! Schedule |: Your Income page 2
Debter1 Michael Glenn Bolding

 

 

Debtor2 — Carline Stone Bolding Case number (if known) 18-60708
13. Do you expect an increase or decrease within the year after you file this form?
OO No. Mr. Bolding has started a new job and has not received a check yet.

Yes. Explain:

 

 

 

Official Form 1061 Schedule I: Your Income page 3
Fill in this information to identify your case:

 

 

 

 

Check if this is:

Debtor 1 Michael Glenn Bolding ( Anamended filing

First Name Middle Name Last Name Oo A supplement showing postpetition
Debtor 2 Carline Stone Bolding papier 13 Expenses 25 of the
(Spouse, if filing) First Name Middle Name Last Name jattowing date:
United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS MM/DD/YYYY
Case number 18-60708
(if known)

 

Official Form 106J

Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.

Describe Your Household

1. ts this a joint case?

[1 No. Go to line 2.
Yes. Does Debtor 2 live in a separate household?
No
1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? No
C1 Yes. Fill out this information Dependent's relationship to Dependent's Does dependent

 

 

 

 

 

 

Do not list Debtor 1 and for each dependent................... Debtor 1 or Debtor 2 age live with you?

Debtor 2. O No
O Yes

Do not state the dependents’ N

names. O No
O Yes
00 No
OO Yes
Ci No
OO Yes
OU No
OO Yes

3. Do your expenses include No
expenses of people other than OO Yes

yourself and your dependents?

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement ina Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. 4. $120.00
Include first mortgage payments and any rent for the ground or lot.

If not included in line 4:

 

4a. Real estate taxes 4a.
4b. Property, homeowner's, or renter’s insurance 4b. $150.00
4c. Home maintenance, repair, and upkeep expenses 4c.
4d. Homeowner's association or condominium dues 4d.

 

Official Form 106J Schedule J: Your Expenses page 1
Debtor 1

Michael Glenn Bolding

 

 

 

 

 

 

 

Debtor2 _—‘ Carline Stone Bolding
§. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Intemet, satellite, and
cable services
6d. Other. Specify: Cell phones
7. Food and housekeeping supplies
8. Childcare and children’s education costs
9. Clothing, laundry, and dry cleaning
10. Personal care products and services
11. Medical and dental expenses
12. Transportation. Include gas, maintenance, bus or train
fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,
magazines, and books
14. Charitable contributions and religious donations
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Health insurance
15c. Vehicle insurance
15d. Other insurance. Specify:
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: Property taxes
17. Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule I, Your Income (Official Form 1063).
19. Other payments you make to support others who do not live with you.

Official Form 106J

Specify:

 

 

 

 

Case number (if known) 18-60708
Your expenses

5.
6a. $250.00
6b. $150.00
6c.
6d. $65.00
7. $500.00
8.
9. $50.00
10. $50.00
11. $50.00
12. $150.00
13.
14, _
15a.
15b.
15c. $100.00
15d.
16. $375.00
Wa
17b.
17c.
17d.
18.
19.

 

Schedule J: Your Expenses

page 2
Debtor 1 Michael Glenn Bolding
Debtor2 ss Carline Stone Bolding Case number (if known) 18-60708

20.

Other real property expenses not included in lines 4 or 5 of this form or on
Schedule I: Your Income.

 

 

 

 

 

 

 

 

 

 

 

20a. Mortgages on other property 20a.
20b. Real estate taxes 20b.
20c. Property, homeowner's, or renter's insurance 20c.
20d. Maintenance, repair, and upkeep expenses 20d.
20e. Homeowner's association or condominium dues 20e.
21. Other. Specify: 21.0
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. $2,010.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2. 22b.
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $2,010.00
23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $2,066.89
23b. Copy your monthly expenses from line 22c above. 23b. $2,010.00
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23c. | __._ «$56.89
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car toan within the year or do you expect your mortgage
payment to increase or decrease because of a modification to the terms of your mortgage?
No.
OO Yes.| Explain here:
None.
Official Form 106J Schedule J: Your Expenses page 3

 

 
Fill in this information to identify your case:

Debtor 1 Michael Glenn Bolding
First Name Middle Name Last Name

Debtor 2 Carline Stone Bolding
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

Case number 18-60708

(if known) L] Check if this is an

amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. {f two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own
1. Schedule A/8: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule AIB..........ssssssssssssssssssssssecesssssecesssesssssssssssssasasosenssensensssseseesasevesesees $219,490.00
1b. Copy line 62, Total personal property, from Schedule AVB...........ccccsccsssssssssscccsssessssesesesscsseseessscessescecesucesssensevcasaee __ $16,155.00
1c. Copy line 63, Total of all property on Schedule A/B.........c.cccsccccssssesseccoessessessessecsessessecsesssesscssesvsescrseetsereesceseeeeeecesess $235,645.00

 

 

 

Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D..... ___—« $17,686.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the tota! claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F........ccssssccccsssccoscesecssseee $1,252.80
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........ccccssccscccssssseses + $687.28

 

 

 

Your total liabilities $19,626.08

 

Summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 106!)
Copy your combined monthly income from line 12 Of Schedule Iou........scscecsscscssessccsscssesscssccsssssscscossscseseseceescsseeescscceceesees ___ $2,066.89

S. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c of Schedule J $2,010.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1
Debtor 4 Michael Glenn Bolding
Debtor2 —_ Carline Stone Bolding Case number (if known) _18-60708

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

( No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Yes

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(0 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from
Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

 

$950.00

 

9. Copy the following spectal categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations. (Copy line 6a.) ___—*$ 0.00

Sb. Taxes and certain other debts you owe the govemment. (Copy line 6b.) __ $1,252.80.

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) «$0.00

9d. Student loans. (Copy line 6f.) __——«$0.00

9e. Obligations arising out of a separation agreement or divorce that you did not report as _____—*$ 0.00

priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + __—$0.00

9g. Total. Add lines 9a through Sf. $1,252.80
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information

page 2

 
 

Fill in this information to identify your case:

 

 

Debtor 1 Michael Glenn Bolding

First Name Middle Name Last Name
Debtor 2 Carline Stone Bolding
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

Case number 18-60708

(if known) 1 Check if this is an

amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

 

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,

concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

[iegeees| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

fw No

[1 Yes. Name of person Attach Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and that they are
true and correct.

Ml bbe, Lb — CEA

Michael Glenn Bolding, Debtor 1 ) / Carline Stone Bolding, Debtor 2
|

  

Date 10/09/2018 Date 10/09/2018
MM/DD/YYYY MM/DD/YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules page 1
Fill in this information to identify your case:

Debtor 1 Michael Glenn Bolding
First Name Middle Name Last Name

Debtor 2 Carline Stone Bolding
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

Casenumber 18-60708 C1 Check if this is an

(if known) amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?
Married
OD Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

f7J No

(] Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
(Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
Washington, and Wisconsin.)

oO No
fy] Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
Debtor 1 Michael Glenn Bolding
Debtor2 — Carline Stone Bolding Case number (if known) _18-60708

 

 

ra Explain the Sources of Your Income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

(] No
7] Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions Check all that apply. (before deductions
and exclusions and exclusions
From January 1 of the current year until [J Wages, commissions, $8,550.00 [-] Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
|v] Operating a business CJ Operating a business
For the last calendar year: [v7] Wages, commissions, $11,400.00 [[] Wages, commissions,
‘oT bonuses, tips bonuses, tips
nua to December 31, ‘ ‘ . ‘
(January em 2 (J Operating a business LJ Operating a business
For the calendar year before that: [¥] Wages, commissions, $54,694.27 [_] Wages, commissions,
y 4 srs bonuses, tips bonuses, tips
anuary 1 to December 31, ; ; . .
Gane a oO Operating a business | Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
and gambling and lottery winnings. If you are in a jaint case and you have income that you received together, list it only once under
Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

[] No

[vy] Yes. Fill in the details.

 

 

 

 

 

 

 

 

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Describe below. from each source Describe below. from each source
(before deductions (before deductions
and exclusions and exclusions
From January 1 of the current year until Social Security $5,400.00
the date you filed for bankruptcy:
For the last calendar year: Social Security $6,324.00
(January 1 to December 31, 2017 )
YYYY
For the calendar year before that: Social Security $5,769.00
(January 1 to December 31, 2016 )
YYYY

 

Official! Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
Debtor1 Michael Glenn Bolding
Debtor2 — Carline Stone Bolding Case number (if known) _ 18-60708

List Certain Payments You Made Before You Filed for Bankruptcy
6. Are either Debtor 1’s or Debtor 2's debts primarily consumer debts?

[I No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
*incurred by an individual primarily for a personal, family, or household purpose.”

During the 80 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
C] No. Go to tine 7.

(] Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attomey for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

No. Go to line 7.

(0 Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and alimony.
Also, do not include payments to an attomey for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
such as child support and alimony.

No
[J Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an insider?

Include payments on debts guaranteed or cosigned by an insider.

No
C Yes. List all payments that benefited an insider.

Officiat Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
Debtor1 Michael Glenn Bolding
Debtor2—- Carline Stone Bolding Case number (if known) _18-60708

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, patemity actions, support or custody
modifications, and contract disputes.

| No
f¥1 Yes. Fillin the details.

 

 

 

 

Case title Nature of the case Court or agency Status of the case
Home equity foreclosure Bank of America sued the District Court .
oo. . DD Pending
litigation Boldings in order to receive Court Name
permission to foreclose on it's [ On appeal
home equity loan on their Number Street
Case number unknown homestead Concluded
Waco TX
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
seized, or levied?
Check all that apply and fill in the details below.

(I No. Go to line 11.
Yes. Fill in the information below.

 

 

 

 

 

 

Describe the property Date Value of the property
Gm Financial 2017 Toyota Rav 4
Creditor's Name
PO Box 183621
Number Street Explain what happened
Property was repossessed.
(] Property was foreclosed.
Arlington TX___ 76096-3621 L] Property was gamished.
City State ZIP Coda C Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
amounts from your accounts or refuse to make a payment because you owed a debt?

No
OO Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
oO Yes

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
Debter1 Michael Glenn Bolding
Debtor2 —_ Carline Stone Bolding Case number (if known) _18-60708

 

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
CO ‘Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
to any charity?

No
OO Yes. Fill in the details for each gift or contribution.

ee cist Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
other disaster, or gambling?

No
CJ Yes. Fill in the details.

EA ist Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

J No
Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

Description and value of any property transferred Date payment Amount of
001 Debtorce, Inc. The Boldings participated in a credit or transfer was = payment
Person Who Was Paid counselling course as a prerequisite to filing made
378 Summit Avenue this bankruptcy case.
Number Street
Jersey City NY 07306
City State ZIP Code
Email or website address
Person Who Made the Payment, if Not You

Description and value of any property transferred Date payment Amount of
Erin B. Shank, P.C. ortransferwas payment
Person Who Was Paid made
1902 Austin Avenue 10/08/2018 $1,010.00

 

 

Number Street

 

 

 

 

Waco TX 76701
City State ZIP Code
Email or website address

 

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for individuals Fiting for Bankruptcy page 5
Debtor 1 Michael! Glenn Bolding
Debtor2 ss Carline Stone Bolding Case number (if known) _18-60708

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.
No
C Yes. Fill in the details.
18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
property transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

 

 

 

 

 

No
Yes. Fill in the details.
Description and value of any Describe any property or payments _ Date transfer
Internet Advertisement property transferred received or debts paid inexchange = was made
Person Who Received Transfer 4 gold rings $160.00 A ril 2018
Number Street
City State ZIP Code
Person's relationship to you None
Description and value of any Describe any property or payments _Date transfer
Ernest Ramerez property transferred received or debts paid inexchange § was made
Person Who Received Transfer 2005 Chrysler Pacifica
From Facebook $1,250.00

 

Number Street

 

 

City State ZIP Code

Person's relationship to you None

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
you are a beneficiary? (These are often called asset-protection devices.)

I No

(LJ Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
Debtor 1 Michael Glenn Bolding
Debtor2 —_ Carline Stone Bolding Case number (if known) _18-60708

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefit, closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

No
C Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
for securities, cash, or other valuables?

No
oO Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

OJ No
Yes. Fill in the details.

 

 

 

 

Who else has or had access to it? Describe the contents Do you still

have it?

Rite Space Storage mattresses, bed frames ( No

Name of Storage Facility Name dressers, radios and other f¥ Yes

personal effects.

Number Street Number = Street

Waco TX

City State ZIP Code City State ZIP Code

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

[] No

Yes. Fill in the details.

 

 

 

 

Where is the property? Describe the property Value
The Bolding grandchildren The Debtors have toys that
Owner's Name belong to their grandkids in
their home.
Number Street Number Street
City State ZIP Code City State ZIP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 
Debtor 1 Michael Glenn Bolding
Debtor2—- Carline Stone Bolding Case number (if known) _18-60708

 

iste Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

@ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

™ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
law?

vw No
CO Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
No
CO Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
orders.

fy No

OO Yes. Fill in the details.

Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

[] A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
(] A member of a limited tiability company (LLC) or limited liability partnership (LLP)

0 Apartner in a partnership

(0 An officer, director, or managing executive of a corporation

C1 An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies. Go to Part 12.
L] Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
all financial institutions, creditors, or other parties.

C] No
CO Yes. Fill in the details betow.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8
Debtor 1 Michael Glenn Bolding
Debtor2—- Carline Stone Bolding Case number (if known) _18-60708

 

 

 

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury
that answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,

or both. 18 U.S.C. §§ 152, 1341, 1519, a
x Vo Sy, blr) tes

 

 

Michael Glenn Bolding, “Debtor 1 Carline Stone Bolding, Debtor 2 -
Date 10/09/2018 Date 10/09/2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

No

OO Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

No

oO Yes. Name of person Attach the Bankruptcy Petition Preparer's Notice,

 

Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
Fill in this information to identify your case:

Debtor 1 Michael Glenn Bolding
First Name Middle Name Last Name

Debtor 2 Carline Stone Bolding
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

Case number 18-60708

(if known) [) Check if this is an

amended filing

 

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7 12/15
Neen eeereeeeeeeeeeeeeeee eee eee eee eee eee eee eee eee eee

If you are an individual filing under chapter 7, you must fill out this form if:
™ creditors have claims secured by your property, or
@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).

List Your Creditors Who Hold Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
fill in the information below.

Identify the creditor and the property that is collateral What do you intend to do with the Did you claim the property
property that secures a debt? as exempt on Schedule C?

Creditor’s Bank of America Home Loans oO Surrender the property. oO No

name: (1 Retain the property and redeem it. Yes

Description of +2947 Palomino Trail, Robinson, TX [] Retain the property and enter into a

property 76706 Reaffirmation Agreement.

securing debt: Retain the property and [explain]:

Debtor will continue making payments to creditor without
reaffirming.

| Part 2: ES Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will this lease be assumed?
Lessor's name: Diana Dalessio O No

Description of leased lease of other half of duplex Yes

property:

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1
Debtor 4 Michael Glenn Bolding
Debtor2 = Carline Stone Bolding Case number (if known) _ 18-60708

Sign Below
iy property thaf‘is fh, an
x AWA DM ;

 

   
 
 
 

out any property of my estate that secures a debt and

 

  

Michael Glenn Bolding, it “VY arline Stone Bolding, Debtor 2
Date 10/09/2018 Date 10/09/2018
MM/DD/YYYY MM/DD/ YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

This notice is for you if:

® You are an individual filing for bankruptcy,
and

® Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C. § 101(8)
as "incurred by an individual primarily for a
personal, family, or household purpose."

 

 

 

The types of bankruptcy that are available
to individuals

Individuals who meet the qualifications may file under one
of four different chapters of the Bankruptcy Code:

@ Chapter 7 -- Liquidation
® Chapter 11 -- Reorganization

®@ Chapter 12 — Voluntary repayment plan for family
farmers or fishermen

@ Chapter 13 -- Voluntary repayment plan for
individuals with regular income

You should have an attorney review your
decision to file for bankruptcy and the choice
of chapter.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

 

Chapter 7: Liquidation

 

$245 filing fee
$75 administrative fee
+ $15 trustee surcharge

$335 total fee

 

Chapter 7 is for individuals who have financial difficulty
preventing them from paying their debts and who are
willing to allow their non-exempt property to be used to
pay their creditors. The primary purpose of filing under
chapter 7 is to have your debts discharged. The
bankruptcy discharge relieves you after bankruptcy from
having to pay many of your pre-bankruptcy debts.
Exceptions exist for particular debts, and liens on
property may still be enforced after discharge. For
example, a creditor may have the right to foreclose a
home mortgage or repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your discharge.

You should know that the even if you file chapter 7 and
you receive a discharge, some debts are not discharged
under the law. Therefore, you may still be responsible to
pay:

@ most taxes;

@ most student loans;

© domestic support and property settlement obligations;

page 1
@ most fines, penalties, forfeitures, and criminal
restitution obligations; and

®@ certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:

® fraud or theft;

® fraud or defalcation while acting in breach of fiduciary
capacity;

© intentional injuries that you inflicted; and

@ death or personal injury caused by operating a motor
vehicle, vessel, or aircraft while intoxicated from
alcohol or drugs.

If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have

enough income to repay creditors a certain amount. You
must file Chapter 7 Statement of Your Current Monthly
Income (Official Form 122A-1) if you are an individual filing
for bankruptcy under chapter 7. This form will determine
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

if your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

if your income is above the median for your state, you must
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--
sometimes called the Means Test—deduct from your

income living expenses and payments on certain debts to
determine any amount available to pay unsecured
creditors. If your income is more than the median income

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 201 0)

for your state of residence and family size, depending

on the results of the Means Test, the U.S. trustee,
bankruptcy administrator, or creditors can file a motion to
dismiss your case under § 707(b) of the Bankruptcy
Code. If a motion is filed, the court will decide if your
case should be dismissed. To avoid dismissal, you may
choose to proceed under another chapter of the
Bankruptcy Code.

If you are an individual filing for chapter 7 bankruptcy, the
trustee may sell your property to pay your debts, subject
to your right to exempt the property or a portion of the
proceeds from the sale of the property. The property,
and the proceeds from property that your bankruptcy
trustee sells or liquidates that you are entitled to, is
called exempt property. Exemptions may enable you to
keep your home, a car, clothing, and household items or
to receive some of the proceeds if the property is sold.

Exemptions are not automatic. To exempt property, you
must list it on Schedule C: The Property You Claim as
Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee
+ $550 administrative fee

$1,717

 

total fee
Chapter 11 is often used for reorganizing a business, but

is also available to individuals. The provisions of chapter
11 are too complicated to summarize briefly.

page 2
Read These Important Warnings

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the faw allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for
knowing and following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family farmers
or fishermen

 

$200 filing fee
+ $75 administrative fee

$275

 

total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for individuals with
regular income

 

$235 filing fee
+ $75 administrative fee

$310

 

total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

Under chapter 13, you must file with the court a plan to
repay your creditors all or part of the money that you owe
them, usually using your future earnings. If the court
approves your plan, the court will allow you to repay your
debts, as adjusted by the plan, within 3 years or 5 years,
depending on your income and other factors.

After you make ail the payments under your plan, many
of your debts are discharged. The debts that are not
discharged and that you may still be responsible to pay
include:

domestic support obligations,
most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

© certain debts that are not listed in your bankruptcy
papers,

® certain debts for acts that caused death or personal
injury, and

@ certain long-term secured debts.

page 3
 

Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code requires
that you promptly file detailed information about
your creditors, assets, liabilities, income, expenses
and general financial condition. The court may
dismiss your bankruptcy case if you do not file this
information within the deadlines set by the
Bankruptcy Code, the Bankruptcy Rules, and local
rules of the court.

For more information about the documents and
their deadlines, go to:

htto://www.uscourts.gov/bkforms/bankruptcy forms
-htmi#procedure.

 

 

 

Bankruptcy crimes have serious
consequences

® = If you knowingly and fraudulently conceal assets or
make a false oath or statement under penalty of
perjury--either orally or in writing--in connection with
a bankruptcy case, you may be fined, imprisoned, or
both.

® Allinformation you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S. Department
of Justice.

Make sure the court has your mailing
address

The bankruptcy court sends notices to the mailing address

you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

A married couple may file a bankruptcy case together--
called a joint case. If you file a joint case and each
spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could
receive from credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:

http:/Austice.gov/ust/eo/hapcpa/ccde/cc_approved.html.

In Alabama and North Carolina, go to:

http://www. uscourts.gov/FederalCourts/Bankruptcy/Bankru
ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

If you do not have access to a computer, the clerk of the
bankruptcy court may be able to help you obtain the list.

page 4
B2030 (Form 2030) (12/15)
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF TEXAS
WACO DIVISION

Inre Michael Glenn Bolding Case No. 18-60708
Carline Stone Bolding
Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), | certify that | am the attorney for the above named debtor(s) and
that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as follows:

For legal services, | have agreed to ACCEPl...........eesccssssssesstessestssscscoesesseeseseeseeseceees
Prior to the filing of this statement | have received... cscsssescstscsssseesceceseecenseceeses $1,010.00
Balance DUC... eee eceseeesceetsceseeessesesesseecscessseseseesesseensesesssesacsestscsasserescasereesseseenens $0.00

$1,010.00

2. The source of the compensation paid to me was:
Debtor (1 Other (specify)

3. The source of compensation to be paid to me is:
Debtor (J Other (specify)

4. fy] [have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

(0 Ihave agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
compensation, is attached.

5. In return for the above-disclosed fee, | have agreed to render legal service for all aspects of the bankruptcy case, including:

a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
bankruptcy;

b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjoumed hearings thereof;
B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

 

CERTIFICATION
| certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s) in this bankruptcy proceeding.

Wf J
10/09/2048 AA Lote

Date Erin B. Shank (~~ Bar No. 01572900
Erin B. Shank, P.C.

1902 Austin Avenue
Waco, Texas 76701
Phone: (254) 296-1161 / Fax: (254) 296-1165

 

 

 

Michael Glenn Bolding” ZA Ze Bokding——S
  

Check one box only as directed in this
form and in Form 122A-1Supp:

Fill in this information to identify your case:

      

Debtor 1 Michael Glenn Bolding

First Name Middle Name Last Name [YJ 1. There is no presumption of abuse.

   
 

  

Debtor 2 Carline Stone Bolding

2.The calculation to determine if a presumption
(Spouse, if filing) First Name Middle Name Last Name 0

of abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A-2),

    
 

United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS
oO 3. The Means Test does not apply now because

of qualified military service but it could apply
later.

 
 

Case number 18-60708
(if known)

 
  
 

 

 

1 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.

Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

[] Not married. Fill out Column A, lines 2-11.
Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
y
( Married and your spouse is NOT filing with you. You and your spouse are:
[] Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

(J Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fillin the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 4 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions $0.00 $0.00
(before all payroll deductions).

 

3. Alimony and maintenance payments. Do not include payments from a spouse $0.00 $0.00
if Column B is filled in.

 

4. All amounts from any source which are regularly paid for household $0.00 $0.00
expenses of you or your dependents, including child support. Include
regular contributions from an unmarried partner, members of your household,
your dependents, parents, and roommates. Include regular contributions from
a spouse only if Column B is not filled in. Do not include payments you listed
on line 3.

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1
Debtor 1 Michael Glenn Bolding
Debtor2 —- Carline Stone Bolding

10.

11.

Official Form 122A-1

 

 

 

 

 

 

 

Case number (if known) 18-60708

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
Net income from operating a business, profession, or farm
Debtor 1 Debtor 2
Gross receipts (before all $0.00 $0.00
deductions)
Ordinary and necessary operating — $0.00 — $0.00
n
expenses Copy
Net monthly income from a business, $0.00 $0.00 here > $0.00 $0.00
profession, or farm
Net income from rental and other real property
Debtor 1 Debtor 2
Gross receipts (before all $950.00 $0.00
deductions)
Ordinary and necessary operating — $0.00 — $0.00
expenses
Copy

Net monthly income from rental or $950.00 $0.00 here > $950.00 $0.00
other real property
Interest, dividends, and royalties $0.00 $0.00
Unemployment compensation $0.00 $0.00
Do not enter the amount if you contend that the amount received was a
benefit under the Social Security Act. Instead, list it here: ........0...... vy

POE YOU ors soyes acverseeenencnanseussvamanemeneseueaieesesd Usateruneececeensee $0.00

FOP YOUF SPOUSE........cscscecessesccessseseceesececseseseesesnsnsersveeesesvees $0.00
Pension or retirement income. Do not include any amount received that $0.00 $0.00
was a benefit under the Social Security Act.
Income from all other sources not listed above. Specify the source and
amount. Do not include any benefits received under the Social Security Act
or payments received as a victim of a war crime, a crime against humanity,
or intemational or domestic terrorism. If necessary, list other sources on a
separate page and put the total below.
Total amounts from separate pages, if any. + +
Calculate your total current monthly income.
Add lines 2 through 10 for each column. $950.00 | + $0.00 | = $950.00
Then add the total for Column A to the total for Column B.

 

 

Chapter 7 Statement of Your Current Monthly Income

Total current
monthly income

page 2
Debtor 1 Michael Glenn Bolding

Debtor2 —_ Carline Stone Bolding

Case number (if known) 18-60708

 

Determine Whether the Means Test Applies to You

12.

13.

14.

Calculate your current monthly income for the year. Follow these steps:
12a. Copy your total current monthly income from liN@ 11.............cccecsseseeseeeeneeeereeee

Multiply by 12 (the number of months in a year).

12b. The result is your annual income for this part of the form. 12b.

Calculate the median family income that applies to you. Follow these steps:

 

 

 

 

 

 

Fill in the state in which you live. Texas
Fill in the number of people in your household. 2
Fill in the median family income for your state and size of HOUSEhOIM...........cccccecee sees tse seeesttsesetetessteeeee 13.

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.
How do the lines compare?

14a. [¥] Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

 

secon COPY line 11 here =} 12a.

$950.00

 

X

12

 

 

$11,400.00

 

 

 

 

$63,148.00

 

 

14b. [[] Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.

Go to Part 3 and fill out Form 122A-2.

Sign Below

  
 

By signing here, “O. penalty of p. that the information on this statement

x fir tine,

na £2,

 

 

 

Michael Glenn Bolding, Debt&r™4 L/ ~" Carline Stone Bolding, Debtor 2
Date 10/9/2018 Date 10/9/2018
MM/DD/ YYYY MM/DD/ YYYY

If you checked line 14a, do NOT fill out or file Form 122A-2.

If you checked line 14b, fill out Form 122A-2 and file it with this form.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income

  

page 3
